Case 4:20-cv-00957-SDJ   Document 699-20 Filed 12/09/24   Page 1 of 23 PageID #:
                                    35280




            EXHIBIT 18
       [FILED UNDER SEAL]
 Case 4:20-cv-00957-SDJ   Document 699-20 Filed 12/09/24   Page 2 of 23 PageID #:
                                     35281




                                                     Beyond
                                                    Bernanke


                                                       gTrade
                                                     Aug 17, 2015




                                                   ATTORNEY CLIENT
                                                      PRIVILEGED




                                                                        5
CONFIDENTIAL                                                       GOOG-DOJ-28385887
 Case 4:20-cv-00957-SDJ      Document 699-20 Filed 12/09/24   Page 3 of 23 PageID #:
                                        35282



               Presentation Overview                          Go gie~
               •   Bemanke Background


               •   Bemanke Issues


               •   Beyond Bernanke




CONFIDENTIAL                                                          GOOG-DOJ-28385888
 Case 4:20-cv-00957-SDJ        Document 699-20 Filed 12/09/24          Page 4 of 23 PageID #:
                                          35283



               Pre-Bernanke                                             Go gle
               •   Before DRS (2012)
                    • Submit top two CAT2 bids to the AdX auction after deducting
                       GDN buy-side margin of 15%
                    • Lose auctions above 0.85 * CAT2 1st bid




CONFIDENTIAL                                                                    GOOG-DOJ-28385889
 Case 4:20-cv-00957-SDJ        Document 699-20 Filed 12/09/24           Page 5 of 23 PageID #:
                                          35284



               Pre-Bernanke                                              Go gle
               •   Before DRS (2012)
                    • Submit top two CAT2 bids to the AdX auction after deducting
                       GDN buy-side margin of 15%
                    • Lose auctions above 0.85 * CAT2 1st bid


               •   DRS (early 2013)
                    • Do not deduct GDN margin off the top bid
                    • Win new auctions clearing between [0.85, 1.00] * top bid
                    • Profit increases; profit margin drops slightly to ~14.x%




CONFIDENTIAL                                                                     GOOG-DOJ-28385890
 Case 4:20-cv-00957-SDJ        Document 699-20 Filed 12/09/24           Page 6 of 23 PageID #:
                                          35285



               Pre-Bernanke                                              Go gle
               •   Before DRS (2012)
                    • Submit top two CAT2 bids to the AdX auction after deducting
                       GDN buy-side margin of 15%
                    • Lose auctions above 0.85 * CAT2 1st bid


               •   DRS (early 2013)
                    • Do not deduct GDN margin off the top bid
                    • Win new auctions clearing between [0.85, 1.00] * top bid
                    • Profit increases; profit margin drops slightly to ~14.x%


               •   In all cases, advertiser is charged
                    o min(CAT2 1st bid, max(AdX Clearing/ 0.85, CAT2 2nd bid))




CONFIDENTIAL                                                                     GOOG-DOJ-28385891
 Case 4:20-cv-00957-SDJ         Document 699-20 Filed 12/09/24           Page 7 of 23 PageID #:
                                           35286



               Bernanke (late 2013)
               •    Main insight


                              DRS: Target (up to) 15% margin per query




                                              D
                   Bernanke: Target 15% margin per (query segment) x (time period)


               •    Typical segments: {web property x sub web property x mobile}
               •    Typical time period: 1 day




CONFIDENTIAL                                                                       GOOG-DOJ-28385892
 Case 4:20-cv-00957-SDJ        Document 699-20 Filed 12/09/24           Page 8 of 23 PageID #:
                                          35287



               Bernanke (late 2013)                                      Go gle·
               •   Bernanke solves this optimization problem:

                   Maximize
                      Buy-side revenue (RPM * Queries) per day

                   By Calculating
                      Bid multipliers on 1st and 2nd bid submitted to AdX auction
                      per inventory segment (wp x swp x mobile)

                   Subject to constraints:
                      Sarne advertiser auction ranking and charging as DRS
                      Buy-side margin 15% per segment x day




CONFIDENTIAL                                                                        GOOG-DOJ-28385893
 Case 4:20-cv-00957-SDJ        Document 699-20 Filed 12/09/24            Page 9 of 23 PageID #:
                                          35288



               Global Bernanke (mid-2015)                                Go gie~
               •   Global Bernanke solves slightly modified optimization problem:

                   Maximize
                      Buy-side value (RPM* CPD * Queries) per day

                   By Calculating
                      Bid multipliers on 1st and 2nd bid submitted to AdX auction
                      per inventory segment (wp x swp x mobile)

                   Subject to constraints:
                      Same advertiser auction ranking and charging as DRS
                      Min and max buy-side margin per segment x day
                      Overall AdX buy-side margin of 15% on mobile , desktop




CONFIDENTIAL                                                                        GOOG-DOJ-28385894
Case 4:20-cv-00957-SDJ              Document 699-20 Filed 12/09/24    Page 10 of 23 PageID #:
                                                35289



                Bernanke Success                                       Go glew




  Global bemanke just launched; may update image with more data ...




CONFIDENTIAL                                                                  GOOG-DOJ-28385895
Case 4:20-cv-00957-SDJ         Document 699-20 Filed 12/09/24              Page 11 of 23 PageID #:
                                           35290



               Issue 1: Margin Constraint                                    Go gle~
               •   First bid multiplier > 1.0 is artifact of self-imposed 15% margin


               •


               •   GDN deliberately loses money on billions of queries/ day, primarily
                   to subsidize publishers and drive down margin           -> 15%




CONFIDENTIAL                                                                           GOOG-DOJ-28385896
Case 4:20-cv-00957-SDJ                Document 699-20 Filed 12/09/24           Page 12 of 23 PageID #:
                                                  35291



               Issue 2: Advertiser Cost                                         Go gle
                •   Bemanke (and DRS) have a first-pricing region where query is
                    subsidized and advertiser cost increases with bid




                          Cost
                                  With DRS/Bernanke             Ideal System
               max_cost




                min_bid




                           - - ~- - - + - - - Bid         _ _ __,..._ _ _ __,.. Bid

                                 min_bid   max_c:ost          min bid




CONFIDENTIAL                                                                           GOOG-DOJ-28385897
Case 4:20-cv-00957-SDJ                 Document 699-20 Filed 12/09/24              Page 13 of 23 PageID #:
                                                   35292



               Issue 2: Advertiser Cost
                •   Bemanke (and DRS) have a first-pricing region where query is
                    subsidized and advertiser cost increases with bid
                     o 100% of incremental Bemanke inventory is first priced
                     o MH-CPD is          worse (no auction discount)
                     o "Smart" auto-bidding frameworks like conversion optimizer
                       (             ) have incentive to reduce bids to exploit subsidy
                          Cost
                                   With DRS/Bernanke                Ideal System
               max_cost




                min_bid



                            - - - -...-- - - - - + - - + Bid   - - - --t-- - - --+ Bid
                                 min_bid     max_c:ost             min_bid




CONFIDENTIAL                                                                               GOOG-DOJ-28385898
Case 4:20-cv-00957-SDJ         Document 699-20 Filed 12/09/24           Page 14 of 23 PageID #:
                                           35293



               Issue 3: Sell-side Constraints Go gle
               •   Sell-side constraints (max margin per pub) in a buy-side algorithm
                   makes innovation slower/harder on both sides


               •   Buy-side changes hard to launch without sell-side approval,
                   concerns about "sensitive" publishers


               •   Sell-side projects like RPO have strange interactions with
                   Bernanke, causing experiment issues and pushback at launch




CONFIDENTIAL                                                                       GOOG-DOJ-28385899
Case 4:20-cv-00957-SDJ          Document 699-20 Filed 12/09/24          Page 15 of 23 PageID #:
                                            35294



               Issue 4: Limited Future Gains Go gle·
               •   After 2 years of improvements, unlikely to extract much more gains


               •   Main knob is keep increasing max margin allowed per segment
                    o
                    o   Some publishers must have big payout loss to achieve this


               •   Some potential launches may even decrease revenue, such as
                   opting conversion optimizer traffic out of Bernanke




CONFIDENTIAL                                                                        GOOG-DOJ-28385900
Case 4:20-cv-00957-SDJ        Document 699-20 Filed 12/09/24            Page 16 of 23 PageID #:
                                          35295



               Beyond Bernanke                                           Go gle
               Suppose
               •   Goal: GDN wants to maximize profit
               •   Constraint: Charge advertisers based only on competition
               •   Assume: AdX runs clean second price auction with single call with
                   reserve price




CONFIDENTIAL                                                                      GOOG-DOJ-28385901
Case 4:20-cv-00957-SDJ         Document 699-20 Filed 12/09/24           Page 17 of 23 PageID #:
                                           35296



               Beyond Bernanke                                           Go gle·
               Suppose
               •   Goal: GDN wants to maximize profit
               •   Constraint: Charge advertisers based only on competition
               •   Assume: AdX runs clean second price auction with single call with
                   reserve price


               •   Mechanism:
                    o Submit to AdX: CAT2 first bid, no second bid
                    o Charge max(CAT2 second bid, AdX clearing price)




CONFIDENTIAL                                                                      GOOG-DOJ-28385902
Case 4:20-cv-00957-SDJ         Document 699-20 Filed 12/09/24             Page 18 of 23 PageID #:
                                           35297



               Beyond Bernanke                                              Go gle
               Suppose
               •   Goal: GDN wants to maximize profit
               •   Constraint: Charge advertisers based only on competition
               •   Assume: AdX runs clean second price auction with single call with
                   reserve price


               •   Mechanism:
                    o Submit to AdX: CAT2 first bid, no second bid
                    o Charge max(CAT2 second bid, AdX clearing price)


               •   Advantages
                    o Simple!
                    c Market sets price; no first-pricing region or target margin
                    o No more artificial subsidies to publisher
                    o Decouples buy-side and sell-side




CONFIDENTIAL                                                                        GOOG-DOJ-28385903
Case 4:20-cv-00957-SDJ         Document 699-20 Filed 12/09/24            Page 19 of 23 PageID #:
                                           35298



               Transition Phase                                            Go gie~
               •   Want to avoid large publisher payout drop


               •   Initially GDN continues submitting two bids
                    o GDN1 = CAT2 1st bid
                    o GDN2 = f(Query features)


               •   Experiment with f() until payout is close to today's Bernanke
                   payout to publishers.


               •   max(pub reserve, f()) b.ecomes the new sell-side RPO for GDN

               •   Buy-side and sell-side are decoupled from that point onward




CONFIDENTIAL                                                                       GOOG-DOJ-28385904
Case 4:20-cv-00957-SDJ         Document 699-20 Filed 12/09/24           Page 20 of 23 PageID #:
                                           35299



               Buy-side margin                                            Go gle~
               •   If buy-side margin too high
                     o Re-invest the money for maximum benefit to advertisers
                         ■ Buy more inventory for strategic customers,
                            regardless of publisher source
                         ■ Offer fixed CPA product, paying any bidding errors or auto-
                            targeting exploration from this money
                         ■ Many other ways to spend $$$$ ...




CONFIDENTIAL                                                                       GOOG-DOJ-28385905
Case 4:20-cv-00957-SDJ         Document 699-20 Filed 12/09/24           Page 21 of 23 PageID #:
                                           35300



               Buy-side margin                                            Go gle
               •   If buy-side margin too high
                     o Re-invest the money for maximum benefit to advertisers
                         ■ Buy more inventory for strategic customers,
                            regardless of publisher source
                         ■ Offer fixed CPA product, paying any bidding errors or auto-
                            targeting exploration from this money
                         ■ Many other ways to spend $$$$ ...


               •   If buy-side margin is too low
                     o Shift$ from advertiser to Google , reducing CPD and volume
                         ■ bid= (1-m) * CAT2 1st bid
                         ■ charge = max(Adx clearing price, CAT2 2nd bid)/ (1-m)
                         ■ Set m for minimum margin, or to equalize CPD between
                            AdX, AdSense




CONFIDENTIAL                                                                        GOOG-DOJ-28385906
Case 4:20-cv-00957-SDJ         Document 699-20 Filed 12/09/24             Page 22 of 23 PageID #:
                                           35301



               Summary                                                     Go gle
               •   Bemanke maximized revenue given 15% margin constraint and
                   same CAT2 auction ranking/pricing as DRS; highly successful,



               •   Further Bemanke enhancements may not have big upside potential


               •   Bemanke has several issues with advertiser pricing, entangling
                   buy-side / sell-side goals, and throwing away profit overpaying for
                   lower-quality inventory


               •   A simpler bidding and pricing strategy may be achievable by
                   developing a more effective publisher RPO




CONFIDENTIAL                                                                        GOOG-DOJ-28385907
Case 4:20-cv-00957-SDJ   Document 699-20 Filed 12/09/24   Page 23 of 23 PageID #:
                                     35302




                                                     8eyond
                                                    8ernanke
                                                     Yellen?

                                                       gTrade
                                                     Aug 17, 2015




                                                   ATTORNEY CLIENT
                                                      PRIVILEGED




CONFIDENTIAL                                                       GOOG-DOJ-28385908
